9 F.3d 108
    NOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.NATIONAL LABOR RELATIONS BOARD, Petitioner,v.SURGICAL APPLIANCE INDUSTRIES, INC., Respondent(s).
    No. 93-6191.
    United States Court of Appeals, Sixth Circuit.
    Oct. 21, 1993.
    
      Before:  NORRIS and SILER, Circuit Judges;  and CELEBREZZE, Senior Circuit Judge.
    
    JUDGMENT
    
      1
      THIS CAUSE was submitted upon the application of the National Labor Relations Board for the enforcement of a certain order issued by it against Respondent, Surgical Appliance Industries, Inc., its officers, agents, successors, and assigns, on August 18, 1993, in a proceeding before the said Board numbered 9-CA-30388, 9-CA-30418, and 9-CA-30567;  upon the transcript of the record in said proceeding, certified and filed in this Court enforcing the order.
    
    
      2
      ON CONSIDERATION WHEREOF, it is ordered and adjudged by the United States Court of Appeals for the Sixth Circuit that the said order of the National Labor Relations Board be, and the same is hereby enforced;  and that the Respondent, Surgical Appliance Industries, Inc., its officers, agents, successors, and assigns, abide by and perform the directions of the Board in said order contained.
    
    